Information to identify the case:
Debtor
                   Triton Automation Group LLC                                                 EIN 45−4830770
                   Name


United States Bankruptcy Court Eastern District of Michigan
                                                                                               Date case filed for chapter 11 10/30/18
Case number: 18−54684−mar


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

The court will dismiss this case without a hearing if the debtor(s) do not timely file all the required documents and if no
request for a hearing on dismissal is filed within 21 days after the petition is filed. The Clerk will give notice of the
hearing on dismissal only to the party requesting the hearing, the debtor and the trustee.

  1. Debtor's full name                       Triton Automation Group LLC


  2. All other names used in the
     last 8 years


  3. Address                                  2021 Cleveland Avenue
                                              Port Huron, MI 48060

                                              Kimberly Ross Clayson
                                              Clayson, Schneider & Miller P.C.
  4. Debtor's attorney                        645 Griswold                                                Contact phone: (313) 237−0850
      Name and address
                                              Suite 3900
                                              Detroit, MI 48226

  5. Bankruptcy clerk's office                                                                           For the Court:
      Documents in this case may be filed                                                                Clerk of the Bankruptcy Court:
      at this address.                        Address of the Bankruptcy Clerk's Office:                  Katherine B. Gullo
      You may inspect all records filed in    211 West Fort Street
      this case at this office or online at   Detroit, MI 48226
      www.pacer.gov.                                                                                     Hours open:
                                                                                                         8:30am−4:00pm Monday−Friday
                                              Contact phone: 313−234−0065
                                                                                                         Date: 11/1/18

  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    December 5, 2018 at 10:00 AM
      attend the meeting to be questioned                                                                211 West Fort Street Building, room
      under oath.                         The meeting may be continued or adjourned to a later
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
                                                                                                         315 E (NOT AT THE LEVIN
      required to do so.                                                                                 COURTHOUSE), Detroit, MI 48226

                                                                                                           For more information, see page 2 >


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Debtor Triton Automation Group LLC                                                                                        Case number 18−54684−mar


  7. Proof of claim deadline                  Deadline for filing proof of claim: For creditors who are required by law to file claims,
                                              the deadline is 3/5/19, except that for governmental units the deadline to file claims is
                                              6/3/19.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive  another notice.

                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint: 2/4/19


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.




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